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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


TIBERIU KLEIN, Individually;
TIBERIU KLEIN, as Co-
Administrator of the Estate
of Claudia Zvunca; and
JOHN XYDAKIS,

                           Plaintiffs,

              v.

DANIEL E. O’BRIEN; WINTERS                              Case No. 16 C 11008
SALZETTA O’BRIEN & RICHARDSON,
LLC;    ADAM   POWERS;    STEVEN                Judge Harry D. Leinenweber
LADUZINSKY; LADUZINSKY
& ASSOCS. PC.; GREYHOUND
LINES, INC.; FIRST GROUP PLC
LAIDLAW CORP.; PAUL BOZYCH;
CLAUSEN MILLER, LLP; WILSON
ELSER MOSKOWITZ EDELMAN &
DICKER LLP; NIELSON ZEHE &
ANTAS PC; MICHAEL VRANICAR;
MOTOR COACH IND. INC.; MOTOR
COACH IND. INT’L INC.; PATTON
& RYAN LLC; and CRISTINA
ZVUNCA,

                           Defendants.


                            MEMORANDUM OPINION AND ORDER

                                    I.     BACKGROUND

       This case arises out of a tragic accident that occurred in

January 2002 in Colorado.               Claudia Zvunca was struck and killed by

a Greyhound Bus.           Her daughter, Cristina Zvunca (“Cristina”), who

was     eight      years    old   at     the   time,    witnessed   the    accident.

Claudia’s       heirs      were   her    husband,   Tiberiu   Klein    (“Klein”      or
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“Plaintiff”), and Cristina.                  Cristina, who was a step-daughter,

had no blood relationship with Klein.                     The bus driver was Wesley

Jay Tatum (“Tatum”).               The bus had been designed and manufactured

by   Motor    Coach     Industries,         Inc.,    and    Motor   Coach   Industries

International, Inc. (collectively, “MCI”).

       One would think that such a straightforward wrongful death

case would be uncomplicated.                 Nothing could be further from the

truth.     Unbelievably, this case has spawned at least 15 or more

separate lawsuits in both state and federal court, and a multitude

of appeals numbering at least 25.                   Three Illinois Appellate Court

opinions, Cushing v. Greyhound Lines, Inc., et al., 965 N.E.2d

1215     (Ill.   App.       1st.    Dist.    2012)    (“Cushing     I”),    Cushing   v.

Greyhound Lines, Inc., et al., 991 N.E.2d 28 (Ill. App. 1st Dist.

2013) (“Cushing II”), and Klein v. Motor Coach Industries, Inc.,

et al., 2017 IL App. (1st) 153617-U (Ill. App. 1st Dist. June 28,

2017)    (“Klein      I”)     have    attempted      to    describe   the   convoluted

history of this litigation, which this Court once described as “a

convoluted attorney-created procedural labyrinth.” MB Financial,

N.A. v. Stevens, No. 11 C 798, 2011 WL 5514059, at *1 (N.D. Ill.

July 5, 2011).          So as not to extend this opinion needlessly and

confuse the reader, the Court will not attempt to describe the

procedural background except as pertinent to the instant case.




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                                 A.        Procedural History

      On May 3, 2002, Klein, purportedly as Executor of his late

wife’s estate, filed a suit in the Circuit Court of Cook County

pursuant     to    the    Illinois          Wrongful      Death   Act,   740        ILCS    180/1,

against     Greyhound       and       Tatum.        Defendants      removed     the        case    to

federal     court       and,    on     a    forum    non    conveniens       basis,        it     was

transferred to the District of Colorado.                          In 2003, at the same

time that his Colorado suit was pending, Klein opened a probate

estate    for     Claudia       in    Cook     County     Probate    Court     and     had      Greg

Marshall, a paralegal from the law firm representing him at the

time, appointed administrator.                  In 2004, Marshall filed a wrongful

death case against MCI, Number 04 L 3391 in the Circuit Court of

Cook County.        Later Greyhound and Tate were added to the case as

additional defendants.                In 2007, this case, apparently at Klein’s

behest, was voluntarily dismissed and refiled as Case No. 07 L

3391 (the “2007 suit”) - likewise against Greyhound, Tate, and MCI

-   asserting      wrongful          death,    survival      claims,     and    a     negligent

infliction of emotional distress claim on Cristina’s behalf.

      The    next       seven     years      saw    numerous      changes      in    attorneys,

guardians,        and    administrators,            substitutions        and    recusals          of

judges, and numerous appeals, including Cushing I and Cushing II.

By 2014,     Cristina          had    attained      her    majority    and     was    appointed

Supervised Administrator of her mother’s estate by the Probate


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Court.      Defendant    O’Brien   and     his   firm    were    granted      leave   to

substitute in as Cristina’s attorneys for the 2007 suit.                        It was

also at this time that the case was reassigned to Judge John P.

Kirby.

    Also     in    2014,    Klein’s       Colorado      suit    was    involuntarily

dismissed under FED. R. CIV. P. 12(b)(1), because Klein had “no

legal authority to pursue [the] wrongful death action and that

lack of capacity [had] not been cured.”                 As it turned out, Klein

had not sought nor received an appointment as executor from the

Probate Court.

     Klein, acting pro se, refiled his suit in Cook County Circuit

Court on August 12, 2014, and was given Case No. 14 L 8478 (the

“2014    suit”).   The     2014   suit    was    assigned       to    Judge   John    P.

Callahan.    It added a claim under the Colorado Wrongful Death Act

and added defendants - MCI and Laidlaw and First Group PLC, the

owners of Greyhound.         On March 17, 2014, Cristina and Klein were

appointed Co-Administrators of Claudia’s estate by the Cook County

Probate Court.     Klein had previously been appointed administrator.

On May 15, 2014, the Probate Court revoked Klein’s letters in

favor of making Cristina Supervised Administrator of her mother’s

estate.

     Klein next moved to consolidate his 2014 suit with the 2007

suit over which Cristina was now the supervised administrator.


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Judge Callahan denied his motion on August 13, 2015.                      On January

21, 2016, Judge Callahan dismissed Klein’s suit (the 2014 suit)

with    prejudice,     pursuant    to    735     ILCS    5/2-619,    stating     as   the

reason    for     dismissal    that     “the   Illinois     [Wrongful     Death]      Act

clearly        describes   a   single     action        brought    by   the    personal

representative on behalf of the surviving spouse and next of kin.”

The opinion went on to state that Klein could not proceed because

Cristina was the “duly appointed representative of her mother’s

estate. . . .        To allow such a secondary suit to proceed would be

to     allow    improper   claim      splitting.”          On     February 22,    2016,

Attorney John Xydakis (“Xydakis”), on behalf of Klein, filed a

notice of appeal with the Appellate Court of the First District.

In addition to the dismissal of his suit with prejudice, Klein and

Xadakis named nine other orders which they sought to appeal.                          All

of these matters, including the dismissal of the 2014 case, were

resolved by the Appeals Court on June 28, 2017 in Klein I.

       In April 2016, Cristina, through her lawyers, negotiated a

settlement in principle in the 2007 case for a total of $4.95

million.        She filed motions to have the settlement approved and

for a dependency hearing on April 20, 2016.                        The court ordered

that Klein be served with the motions to allocate the settlement

and for a dependency determination.                After Klein was served with

the motion, he removed the 2007 case to federal court as Case


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No. 16 CV 5304 and attempted to mount a collateral attack on the

settlement.     The federal judge immediately remanded the case back

to the Cook County Circuit Court because Klein was not a party to

the 2007 case.     After remand, Klein filed motions seeking to quash

service   of    process    on     him,    for    dismissal   of   the   allocation

petition, to substitute out Judge Kirby, for a change of venue,

and filed a document he called a “Standing Objection to Court

Jurisdiction, Authority and to Motion or Proceeding for Dependency

and Allocation.”

     On August 25, 2016, Judge Kirby handed down a decision on

dependency and allocation.           The Complaint does not disclose the

terms of this decision.             On October 14, 2016, Judge Riley, a

Probate Judge, entered an order in Claudia’s estate approving the

wrongful death portion of the settlement.                 On October 21, 2016,

Judge Kirby ruled that all of the orders he had issued were final

and appealable.     Klein filed a notice of appeal as to all of Judge

Kirby’s orders, but at the same time sought reconsideration of

Kirby’s   various       orders     and    Judge     Callahan’s    order    denying

consolidation of the 2014 case with the 2007 case.                  On March 21,

2017,   Judge   Kirby     ruled    that    he    lacked   jurisdiction    to   hear

Klein’s motions because of the pending appeal.                    This appeal of

Klein’s remains pending in the Illinois Appellate Court.




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       Plaintiffs in this case are Klein, both in his individual

capacity and as Co-Administrator of Claudia’s estate (despite the

fact that his letters of administration have been revoked), and

his     current       attorney,          Xydakis.    Defendants        include         Klein’s

stepdaughter, Cristina; her current attorneys and their law firms;

Greyhound,      Laidlaw          Corp,    and   First       Group    PLC    (the       current

corporate      owners       of    Greyhound)    along   with        their   attorneys      and

their law firms; and MCI, its attorneys, and their law firms.

                         B.       The First Amended Complaint

       The    First     Amended       Complaint      (the    “FAC”)     gives      a   rather

disjointed and incomplete procedural and substantive history of

the 2007 and 2014 cases, and includes quotes from some of the

pleadings filed by certain of the Defendants, along with quoted

passages from the rulings of both the Colorado federal court and

the various Cook County judges.                      The FAC alleges that Klein’s

filing of the original case in Illinois Circuit Court, which was

later     removed     and        transferred    to   Colorado       federal     court,    was

proper     because     an     Illinois      Administrator      was    not     necessary    in

light of the fact that Klein, as a surviving spouse, was the real

party in interest (FAC ¶¶ 10-11); that in 2004, Cristina filed a

wrongful death suit in Illinois, and Defendants Greyhound and MCI

sought dismissal of her suit due to Klein’s prior Colorado case,

which motion the Cook County Court denied (id. ¶¶ 13-15); that the


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Illinois Appellate Court in 2004 denied a motion for a stay of

Cristina’s case that was based on the alleged duplicative actions

(id. ¶ 16); and that a year later, MCI unsuccessfully appealed a

denial     of    a      motion     to     dismiss,          arguing       that      maintaining

duplicative      cases       constituted        forum       non    conveniens           and    forum

shopping (id. ¶ 17).

       Several other judicial actions are referred to in the FAC.

In 2010, a Cook County Judge, Judge Haddad, who was then presiding

over Cristina’s case, was asked if he was trying to settle Klein’s

case, to which he responded “no.”                     However, a few days later he

entered a settlement order, supposedly settling Klein’s case for

$52,735.00.        This      settlement       was     overturned          by      the     Illinois

Appellate Court. (FAC ¶¶ 18-20.) In 2014, Klein’s Colorado case

was dismissed for lack of subject matter jurisdiction. Several

months later, Klein “refiled” this case in the Circuit Court of

Cook     County.      (Id.      ¶ 22.)    The    Probate          Court      of    Cook       County

appointed Cristina as Supervised Administrator for her mother’s

estate to pursue the 2007 case.                  The FAC cites to an order of the

Probate Division providing that Klein and Cristina were “ordered”

to maintain each’s separate suits and not pursue claims for the

other,    that     two    separate       suits      could    be    maintained,           and    that

Cristina    –    by   serving      as    “administrator           of   her     wrongful        death

claim, and       also     for    her    own   negligent       infliction          of    emotional


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distress claim” – had a conflict of interest prohibiting her from

representing Klein’s interest as well as her own.                          (Id. ¶¶ 23-24.)

The case was then reassigned to another judge who recused himself

because Cristina’s attorney, Daniel O’Brien (“O’Brien”), donated

thousands of dollars for the judge’s reelection.                         (Id. ¶ 26.)     The

case was then reassigned to Judge Kirby.                      O’Brien told Klein that

he   had    connections        “with    Kirby      and    several    other     Cook   County

judges.”          (Id. ¶ 26.)       O’Brian “repeatedly” assured Klein that

Klein      was     not   involved      in    Cristina’s       case       and   amended   the

Complaint to disclaim Klein’s interest.                      (Id. ¶ 27.)       All parties

objected to Klein’s Motion to Consolidate the 2014 case with the

2007 case.          The judge denied the Motion and said that “Klein

should be thrown in jail.”                  In 2015, Kirby denied Klein’s Motion

to   Intervene       because    Klein       was   not    a   dependent     beneficiary    in

Cristina’s case and thus lacked standing.                     (Id. ¶ 28.)

      The FAC further alleges that neither Greyhound nor MCI would

settle Cristina’s case as long as Klein’s case was alive, so it

was necessary for the Defendant lawyers and Kirby to “try to find

a way around this.”            (FAC ¶ 31.)           Kirby vacated the January 2016

trial      date    for   the   2017    case       and    “[t]hen    on    information    and

belief, Kirby, O’Brien, Vranicar and Bozych get Klein’s judge to

dismiss Klein’s case with prejudice.                      Kirby and that judge share

the same law clerk.            The dismissal order states Klein’s interests


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must be pursued in Cristina’s case in front of Kirby.” (Id. ¶ 32).

Paragraph 33 reads as follows:                        “O’Brien tells Klein that he must

also disclaim any interest in Cristina’s case to ensure his rights

cannot       be    adjudicated          there.         Klein        provides         him    with     one.

O’Brien then ensures Klein and others cannot contact Cristina.”

The next paragraph alleges that O’Brien arranged for an apartment

for Cristina when she visited Chicago but refused to disclose her

address,          that    O’Brien       then     got     an      order        barring      Klein     from

communicating            with      Cristina,          and     that,      when        a     notice    for

Cristina’s deposition was issued (presumably by Klein), “Powers

and     Laduzinsky          (presumably          at     O’Brien’s            request)       threatened

sanctions.”          (Id. ¶ 34.)          From February through April 2016, Kirby

allegedly         held    ex    parte     discussions            with    O’Brien,          Bozych,    and

Vranicar to settle Cristina’s case.                           “When they see Klein or his

agents in the courtroom, they close the conference room door so

that     they       cannot      hear      what    is        going     on.”      (Id.       ¶ 35).     “In

approximately            June     2016,    Kirby,       O’Brien,         Bozych,         and   Vranicar

‘settle’      Cristina’s          case     without       prior      notice       to      Klein.       The

settlement allocates 60% of the proceeds to wrongful death, and

40%     to    Cristina’s          negligent       infliction            of    emotional        distress

claim.”      (Id.        ¶ 36.)    To     avoid    the       Probate         Court    order     barring

Cristina      from       pursuing       Klein’s       case,      O’Brien        hired      Powers    and

Laduzinsky         to     represent       Cristina          in    the        “dependency       hearing”


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phase;     O’Brien,      however,    controlled        them       and    paid   them.   (Id.

¶ 37.)       Powers and Laduzinsky presented the petition to approve

the     settlement     even   though       they     were    not    the    wrongful      death

attorneys. (Id. ¶ 38.)            Klein filed a Motion to Substitute Judge

Kirby, which Judge Kirby denied without briefing on the grounds

that Klein lacked standing as a non-party. (Id. ¶ 39.)                            On August

25,     2016,    Judge    Kirby     held    a     hearing     with      O’Brien,    Powers,

Laduzinsky, Bozych, and Vranicar present.                      Powers and Laduzinsky

argued that Cristina deserved the whole settlement.                             Judge Kirby

ruled that Klein should not receive anything because he disclaimed

his interest.        (Id. ¶ 40.)       According to Plaintiffs, Judge Kirby,

O’Brien, Bozych, Vranicar, Powers, and Adams intended to injure

Klein and deprive him of his rights, and acted jointly, knowingly,

maliciously, and ratified each other’s conduct (Id. ¶ 43.)

        Finally, in paragraph 44, Klein lists 15 acts on the part of

Kirby that he contends violated his constitutional rights:

             44. Other    actions  reveal    O’Brien,  Bozych,
        Vranicar, Powers, and Adams participation, aid, and/or
        complicity with Kirby to violate Klein’s due process,
        equal protection, and other rights including, without
        limitation:
                a. Sua sponte, Kirby raises Klein’s “disclaimer;”
             b. No briefing was ever done on any “disclaimer”
        issue.   Instead, they wait until after Cristina’s case
        settles to argue that the “disclaimer” bars Klein from
        recovering.      However,   after   Klein   learns   the
        “disclaimer” is used by O’Brien, Adams, Powers, and
        Kirby to allege Klein had an interest in Cristina’s case

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  and it was “disclaimed,” Klein revoked the “disclaimer.”
  In addition, Klein then produced a “disclaimer” signed
  by Cristina that O’Brien claimed to revoke.       Despite
  this, Kirby held Klein’s “disclaimer” was effective;

       c. Sua sponte, Kirby orders O’Brien, Bozych                    and
  Vranicar to provide him with any transcripts for                    any
  proceedings in Klein’s case, presumably so Kirby                    can
  decide issues based on his own private investigation                and
  knowledge;
       d. Kirby also orders O’Brien to provide him with
  documents in Klein’s case and attend Klein’s proceedings
  in front of another judge. O’Brien then repeatedly
  appears and interferes in Klein’s proceedings claiming
  he is there as a “friend of the court” and argues
  against Klein’s interests;
       e. When Klein’s attorney files motions in Kirby’s
  case or when motions were filed addressing Klein’s
  attorney, Kirby refuses to allow the requisite time to
  respond mandated by the Cook County Local Rules. Kirby
  would often “reset” the motion date Klein’s attorney
  spindled and then strike the motion if Klein’s attorney
  failed to appear;
       f. Kirby, O’Brien and Bozych allow Greyhound’s
  motion to dismiss Cristina’s case based on claim
  splitting to pend for over a year and Kirby never rules
  on it;
       g. Kirby awards O’Brien 1/3 of the total settlement
  even though O’Brien did little work on the case and was
  unprepared for trial.     Kirby then slashes the other
  attorney’s fees to a fraction of what they seek and
  holds several more ex-parte discussions regarding fee
  issues without attorneys present;
       h. Kirby repeatedly allows “emergency motions” by
  O’Brien, Powers and Laduzinsky.      For example, from
  January 2016, Kirby allows roughly a dozen non-emergency
  motions to be heard as “emergencies.”    The motions are
  invariably filed late in the day and Kirby hears them
  outside normal courtroom hours the next day in the early
  morning;



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          i. Kirby’s [sic] repeatedly enters “nunc pro tunc”
     orders for O’Brien, Adams, Powers, and Bozych, not to
     correct clerical errors, but to add judicial actions.
     Many are entered on “oral motions” or apparently done
     sua sponte;
          j.   Kirby allows O'Brien’s costs for reimbursement
     of over $25,000 to house and feed Cristina and her
     grandparents in Chicago for two years, claiming it is a
     litigation   expense,   even  the   Illinois  Rules   of
     Professional Conduct prohibit an attorney from loaning
     or giving money to a client;
          k. Kirby, O’Brien, Bozych, Vranicar, Powers and
     Laduzinsky violate the Probate Order barring Cristina’s
     [sic] from seeking relief for Klein;
          l.   Kirby, O’Brien, Bozych, Vranicar, Powers and
     Laduzinsky claim Klein is a dependent beneficiary even
     though when denying Klein’s petition for intervention
     and withdrawal of his attorney, Kirby entered an order
     stating Klein is not a “dependent beneficiary;”
          m. O’Brien obtains an ex-parte injunction without
     even a motion seeking injunctive relief barring Klein
     from contacting Cristina;
          n. Kirby, O’Brien, Bozych, Vranicar, Powers and
     Laduzinsky claim Klein is a dependent beneficiary, even
     though the operative Complaint in Cristina’s case
     specifically disclaims seeking any relief on behalf of
     Klein.   Instead, they wait until after Cristina’s case
     “settle” [sic] to claim Klein has an interest; and/or
          o. Kirby allows O’Brien to represent Cristina as
     administrator and in her own individual claims, and
     allegedly to represent Klein’s interests before the
     dependency phase, even though attorneys have been
     disciplined for such actions.

                              II.    DISCUSSION

     Plaintiffs’      theory    as     set   forth     in   the   First    Amended

Complaint   is   that   the    defendant     lawyers   conspired    with   a   Cook

County Circuit Judge, John Kirby, to violate Klein’s Fourteenth

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Amendment due process and equal protection guarantees, as well as

to     commit      fraud     and   intentionally          interfere     with   Klein’s

expectancy in pursuing his own claim for damages.                       In Count I, he

brings a Section 1983 claim that his rights to due process were

denied by a conspiracy consisting of all Defendants, including the

lawyers, their law firms, the parties, and Judge Kirby, to deny

him the right to recover for the loss of his wife.                        In Count II,

Klein     brings    a   Section    1983    denial    of    equal   protection     claim

against the same group.            Count III, a state law claim against the

same Defendants, is based on common law fraud.                        Count IV claims

that the same Defendants intentionally interfered with “Klein’s

expectancy in pursuing his own case for damages.”                         In Count V,

Xydakis sues Cristina for what appears to be a portion of her

settlement on a quantum meruit theory for the work he performed as

her    attorney.        In   all   of   the   counts,     Klein    is   seeking   money

damages, costs, and attorney’s fees.                In addition to seeking money

damages in Counts I and II, Klein asks for a declaration that he

“may seek relief for his damages relating to the death of his wife

in a separate proceeding and his rights were not adjudicated with

Kirby’s case.”

        Defendants have moved to dismiss based on this Court’s lack

of jurisdiction to hear the case under the familiar Rooker-Feldman

doctrine.       See, Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923);


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District of Columbia Court of Appeals v. Feldman, 460 U.S. 462

(1983).        This    doctrine           forbids     lower    federal        courts       from

exercising jurisdiction over cases brought by state court losers

challenging state court judgments rendered before commencement of

the district court proceedings.                The rationale for the doctrine is

that no matter how wrong a state court judgment may be under

federal    law,   only     the   Supreme       Court    of    the    United       States    has

jurisdiction to review it.                 Brown v. Bowman, 668 F.3d 437, 442

(7th Cir. 2012).         Defendants point out that the cases have been

proceeding in state court for more than 15 years and have finally

have    been   brought     to    a    conclusion       with   a     state-court-approved

settlement and with the First District appellate decision in Klein

I handed down on June 28, 2017, which affirmed the state trial

court’s dismissal of Klein’s case with prejudice.

        Klein however contends that he is not trying to undue the

state court judgment.            Instead, he says that he is relying on an

exception to Rooker-Feldman announced in Nesses v. Shepard, 68

F.3d 1003 (7th Cir. 1995).                In that case, Judge Posner described a

hypothetical case that was not covered by Rooker-Feldman.                                  If a

plaintiff were to complain that the defendants had corrupted the

state    judicial     process        by    which     they    were    able    to    obtain     a

favorable      judgment,    such      a     claim    would    not     be    foreclosed       by

Rooker-Feldman so that he would be able to attempt to vindicate


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his rights in federal court despite the fact that he lost in state

court.

                               A.    Count I - Due Process

       In attempting to parse Klein’s Complaint here, it does appear

that   he     is    complaining           of    being      dealt   a    losing   hand    by    a

conspiracy of lawyers and Judge Kirby.                       Of course, it is necessary

that he include Judge Kirby, who has absolute immunity, in order

to have a state actor; otherwise there would be no basis for a

Section 1983 claim for damages.                     According to the Complaint, Judge

Kirby was assigned the case in August 2014, which was about the

time that Cristina’s current attorneys entered appearances in the

wrongful death case.                Therefore, the “conspiracy” would not have

commenced prior to August 2014.                      Thus, the historical allegations

made   in     the     Complaint       -    consisting        of    Klein’s     objections     to

orders,       legal    positions,          and       statements        taken   and   made     by

Defendants and their lawyers along with rulings and statements

made   by     judges    other       than       Judge      Kirby,   including     a   so-called

settlement that was allegedly forced upon Klein in 2010 (which

involved none of the lawyer Defendants) and was invalidated by the

Illinois Appellate Court in Cushing II - would not be a part of

the conspiracy.

       This    leaves     as     acts          of   the    conspiracy     allegations       that

Cristina’s attorneys failed to prepare adequately for trial, took


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litigation positions and made statements that Klein believes are

incorrect, and kept Klein away from Cristina.                          Also, the acts of

conspiracy         include     allegations       that       Judge      Kirby       and     Judge

Callahan, who dismissed Klein’s case (the 2014 suit), “share[d]

the same law         clerk;” that Kirby held “ex-parte discussions” with

the defendant lawyers in an attempt to settle the case from which

“Klein or his agents” were excluded; that in June 2017 the parties

settled the case without prior notice to Klein, allocating 60% to

the     wrongful       death     claim     and   40%        to    Cristina’s         negligent

infliction of emotional distress claim; that Judge Kirby denied

Klein’s       motion      to     intervene;      that       Cristina      as       supervised

administrator had a conflict of interest; that Defendant O’Brien

hired      lawyer      Defendants      Powers    and        Luduzinsky        to     represent

Cristina      at    the   dependency       phase;     that       the   Defendant         lawyers

changed      positions       from   contending       that    Klein     did     not    have     an

interest in the dependency phase to contending that he did; that

Judge Kirby raised the disclaimer issue; that Judge Kirby ordered

Defendant O’Brien to attend hearings in the 2014 case; that Judge

Kirby     set      Klein’s     motions     without     adequate        time    for       him   to

“respond,” in violation of local rules; that Judge Kirby failed to

rule on a Greyhound motion to dismiss the 2007 case; and that

Judge Kirby allowed multiple non-emergency motions to be heard as

emergencies         and   used      nunc   pro   tunc       orders     for     non-clerical


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corrections.          Klein     makes    a   number       of   other     “objections”          that

either    have    been    specifically            ruled   on    in   the      June    28,      2017

Appellate Court ruling or were not relevant to the status of 2007

suit presided over by Judge Kirby.

     The    question       is    whether       these      so-called         orders,    actions,

statements, and rulings - taken as true for the purposes of this

motion to dismiss - rise to the point where it can be said that

Klein’s    due    process       rights       were     violated.          While     Defendants’

Motion to Dismiss is based on lack of jurisdiction and is brought

pursuant    to    FED. R. CIV. P.             12(b)(1),        nevertheless        even     if    a

plaintiff can get by the jurisdictional bar of Rooker-Feldman and

issue preclusion, he still must state a claim on the merits; in

other words, he must state a claim upon which relief could be

granted.     See, Mains v. Citibank, N.A., 852 F.3d 669, 677 (7th

Cir. 2017) (“In short, even if aspects of the TILA claim fall

outside     the       scope       of      Rooker-Feldman,              it     survives          the

jurisdictional bar only to be dismissed on the merits.”)

     It    is    clear     that     all      of     Klein’s     grievances         when     added

together, including the ones that are obviously subject to claim

preclusion,      fall    far     short    of      establishing       a   violation        of    his

rights to due process.             Many of his complaints have already been

decided by the Appellate Court’s June 28, 2017 opinion in Klein I,

including       the     dismissal       of     the     2014     suit,        the     denial      of


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consolidation, and denial of his loss of consortium claim.                                   Other

claims       are    either      constitutionally         irrelevant        -      the    alleged

improper use of nunc pro tunc orders, the alleged violation of

Cook County Local Rules, the use of emergency motions, and the

entry of an injunction to prevent Klein from contacting Cristina –

or are contrary to the requirements of the Illinois wrongful death

statute (740 ILCS 180-2) and the holding in Klein I.                              For example,

he claims that where the administrator of a wrongful death case is

one     of    the     beneficiaries,           a    special     administrator           must      be

appointed.          He fails to cite to any provision of the Act or any

court decisions that might support such a position.                            Specifically,

the statute says that the wrongful death action “shall be brought

by    and    in    the    names    of    the       personal   representatives           of     such

deceased person. . . .”             There is no provision in the statute that

divests      the    personal      representative,         who      also   happens       to   be    a

beneficiary,         of   her     office.          Johnson    v.    Provena       St.    Therese

Medical Center, 778 N.E.2d 298 (Ill. App. 2nd Dist. 2002), holds

that it is the duty of the trial court to protect the interest of

the beneficiaries, exercise of which is subject to the abuse of

discretion standard.               See also, In re Estate of Williams, 585

N.E.2d 235, 238 (Ill. App. 5th Dist. 1992).                          If the beneficiaries

are dissatisfied and think the exercise of discretion was abused,

they     have      the    right     to    appeal       the    trial       court     dependency


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determination.        Mortensen v. Sullivan, 278 N.E.2d 6 (Ill. App. 2nd

Dist.     1972).         Klein    also    states    that   a    beneficiary          has    “an

absolute right to present [his] damages before any settlement or

trial, not just at a dependency hearing. . . .”                           However, all the

statute says is that “[t]he amount recovered in any such action

shall be distributed by the court in which the cause is heard, or,

in    the    case   of    an     agreed   settlement,      by       the    circuit    court,

. . . in the proportion, as determined by the court. . . .”                                There

is no requirement that a beneficiary be allowed to participate in

the     settlement       talks,    particularly      where,     as        here,    there     is

animosity between the beneficiaries, and Klein cites no authority

stating otherwise.          Here the Probate Court approved the settlement

amount, and the Circuit Court held a hearing to determine the

percentage of dependency of the two beneficiaries.                            That is all

the law requires.          If a beneficiary is unhappy with his allocation

he has the right to take an appeal to the Appellate Court.                                  See

generally, Mortensen.              The Cook County Circuit Court sought to

hold     a   dependency        hearing.       Klein    tried         to    thwart     it     by

unsuccessfully           seeking     reconsideration           of     his         motion     to

consolidate the 2014 case with the 2007 case.                         Poignantly, Klein

does not allege that he was denied the right to a dependency

hearing.       It would be difficult for him to do so since he sought

to stop the dependency phase by removing the 2007 case to federal


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court where he attempted to launch a collateral attack against the

settlement.       The district judge promptly remanded the case back to

the Cook County Court, noting that Klein was not a party to the

case.    Remarkably,     Klein   fails   to    disclose    what    occurred     after

remand in the Circuit Court with respect to a dependency hearing

or whether he took an appeal after such a hearing.                    He also does

not allege whether he appealed the decision of the Probate Court

to approve the settlement of the wrongful death claim.

       Klein appears to be contending that the apportionment of the

settlement     between     the   wrongful      death     count     and    Cristina’s

negligent infliction of emotional distress claim was unfair to

him.     He certainly was within his rights to object to the decision

of the Probate Court judge, and he would be within his rights to

appeal the approval.        As previously noted, the Complaint does not

state whether he filed such an appeal.                    Klein could certainly

argue during the dependency phase that, in exercising discretion

when    assessing    the   future   needs     of   the   two   beneficiaries       and

deciding    the    allocation    between    Cristina     and     Klein,   the   court

should take into consideration that Cristina will have $2 million

(less attorney’s fees) as an asset.

        The answer to Klein’s effort to rescue his case lies with the

state courts.        Mains, 852 F.3d at 676 (“The state’s courts are

quite capable of protecting their own integrity.”)                  The procedural


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history of this case amply demonstrates that Illinois courts are

capable    of    insuring    justice     to   their   litigants.         The   Illinois

Appellate Courts on at least two occasions in this very case have

reversed      trial    court    rulings       on   several   important         matters,

including       the   2010     attempt        to   settle    Klein’s       case.     The

availability of appeals under Illinois law supplies all of the due

process Klein requires.             He has demonstrated that he is not afraid

of using the appeals process to attempt to vindicate his rights.

He has filed multiple appeals during the tortuous course of this

15 year procedural nightmare, both pro se and through counsel.

       If the federal courts granted to state court litigants who

feel or believe that they have been treated unfairly by a state

court judge, the right to bring Section 1983 cases in lieu of

state court appeals, we would open the floodgates to a massive

amount of duplicate litigation.               While state court judges (as well

as    federal     judges)    can     become    aggravated    by    the    conduct    of

recalcitrant litigants whom they believe to be abusing trial and

appellate       procedures     by    needlessly    obfuscating     and     prolonging

lawsuits – and it is also a fact that aggravated judges can be

irritable and perhaps rude at times - irritability and rudeness do

not rise to violations of due process.                As stated earlier in this

Opinion, this case has been pending for more than 15 years, and

has engendered countless motions, lawsuits, and appeals as well as


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apparent animosity between the attorneys and between Cristina and

Klein.         An   eight-year-old       girl    lost      her    mother      in    a    tragic

accident,      and    she    has   had   to    wait    more      than   15    years      for   a

resolution of this case.                 Fifteen years is too long, and this

matter has to come to a resolution.                         To conclude, this Court

believes that Klein has not been denied due process but instead

has received far more than is due.                  Count I is dismissed.

                        B.    Count II - Equal Protection

        In Count II Klein brings a Section 1983 constitutional tort

claim based on alleged denial of equal protection by Defendants,

conspiring with Judge Kirby.                  Under traditional equal protection

analysis,      a    governmental     body     may    not    treat     classes      of    people

differently without the difference being rationally related to a

legitimate governmental interest.                    U.S. Dept. of Agriculture v.

Moreno, 413 U.S. 528 (1973).                Klein does not allege that he is a

member of any specific group or class, such as race or religion,

that     has   been    discriminated        against.          While     there      are   cases

involving class of one equal protection claims, see, Del Marcelle

v. Brown County Corp., 680 F.3d 887 (7th Cir. 2012), Klein does

not plead such a claim.             In fact, he merely relies upon the same

factual predicates underlying Count I.                        However, even if Klein

attempted to do so, he would fail.                    In order to bring a class of

one      equal       protection      claim,         there        must    be        underlying


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discriminatory     treatment        alleged    that    is    different     from    what

others similarly situated receive and not rationally related to a

legitimate governmental interest.               Certainly the courts of Cook

County have a legitimate interest in running their court system

efficiently and bringing legal proceedings to a timely conclusion.

In order to insure fairness to litigants, the state provides a

complete    appellate      review    system.      As    we    have    seen   in    the

discussion of Count I, Klein has raised no set of facts that

demonstrate that he was treated unfairly or irrationally.                          For

these reasons, Count II is dismissed.

        Both Counts I and II also seek “a declaration that Klein may

seek relief for his damages relating to the death of his wife in a

separate proceeding and his rights were not adjudicated within

Kirby’s case.”     This of course flies in the face of the holding in

Klein I, where the Illinois Appellate Court specifically held that

Klein’s wrongful death action, the 2014 case, had been properly

dismissed because he had no authority to file such a case separate

from the personal representative of the estate.                   Clearly, such a

declaration is foreclosed by claim preclusion (or possibly Rooker-

Feldman).

     Since the Court has dismissed the two federal claims, the

Court    will   exercise    its     discretion   and    dismiss      the   state    law

claims prayed in Count III and Count IV.


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       There is no Motion brought regarding Count V.

                               III.     CONCLUSION

       For the reasons stated herein, Defendants’ Motion to Dismiss

[ECF   No.   39]   is   granted   and    Counts   I,   II,   III,    and   IV      are

dismissed.


IT IS SO ORDERED.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

Dated: August 1, 2017




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